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                            UNITED STATES DISTRICT COURT
                                 OF MASSACHUSETTS

 SUVERINO FRITH, SAVANNAH KINZER,
 CEDRICK JUAREZ, FAITH WALSH,
 MACKENZIE SHANAHAN, COREY
 SAMUEL, JENNIFER OSAYANDE,
 BRITNEY IFEBOHR, KANAYA RYLAND,                      CIVIL ACTION NO. 1:20-cv-11358-ADB
 KIRBY BURT, LEAVER MICHEL, ABDULAI
 BARRY, LINDSAY VUONG, SAMANTHA
 BERIMBAU, SUEPRIYA ADHI, ALICE
 TISME, CAMILLE TUCKER-TOLBERT,
 CHARLES THOMPSON, ANA BELÉN DEL
 RIO-RAMIREZ, LYLAH STYLES, KAYLA
 GREENE, SHARIE ROBINSON, KELLY
 RIGLER, JUSTINE O’NEILL, SARITA
 WILSON, and YURIN LONDON, individually
 and on behalf of all others similarly situated,

          Plaintiffs,

  v.

  WHOLE FOODS MARKET, INC. and
  AMAZON.COM, INC.,

                               Defendants.

   DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

       Pursuant to Federal Rule of Civil Procedure 12(b)(6) and Local Rule 7.1, Defendant Whole

Foods Market, Inc. (“Whole Foods”), by and through its undersigned counsel, hereby moves to

dismiss in its entirety the Amended Complaint of Plaintiffs Suverino Frith, Savannah Kinzer,

Cedrick Juarez, Faith Walsh, Mackenzie Shanahan, Corey Samuel, Jennifer Osayande, Britney

Ifebohr, Kanaya Ryland, Kirby Burt, Leaver Michel, Abdulai Barry, Lindsay Vuong, Samantha

Berimbau, Suepriya Adhi, Alice Tisme, Camille Tucker-Tolbert, Charles Thompson, Ana Belén

Del Rio-Ramirez, Lylah Styles, Kayla Greene, Sharie Robinson, Kelly Rigler, Justine O’Neill,

Sarita Wilson, Yurin London, and Haley Evans (collectively, “Plaintiffs”). Specifically, Plaintiffs
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failed to exhaust their administrative remedies before the U.S. Equal Opportunity Commission

and, therefore, they cannot pursuit their claims under Title VII of the Civil Rights Act of 1964

(“Title VII”) before this Court. Further, the Amended Complaint fails to state a viable claim for

race discrimination (Count I) or retaliation (Count II) under Title VII.

       Accordingly, for the foregoing reasons and those set forth in the accompanying

Memorandum of Law, Whole Foods respectfully requests that the Court enter an Order dismissing

the Complaint in its entirety with prejudice pursuant to Federal Rule of Civil Procedure 12(b)(6).



                             REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 7.1(d), Whole Foods respectfully requests oral argument on this

Motion.




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Dated: August 14, 2020   WHOLE FOODS MARKET, INC.
                         By counsel,

                         /s/ Sarah J. Butson

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                         Attorneys for Defendant Whole Foods Market, Inc.




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                            LOCAL RULE 7.1 CERTIFICATION

       Counsel for Whole Foods hereby certifies that they conferred with counsel for Plaintiffs

and have attempted in good faith to resolve or narrow the issues raised in this Motion.

                                                                /s/ Sarah J. Butson
                                                                Sarah J. Butson




                                  CERTIFICATE OF SERVICE

       I, Sarah J. Butson, hereby certify that on the August 14, 2020, a true and correct copy of

the foregoing Motion to Dismiss Plaintiffs’ Amended Complaint was served via the Court’s ECF

filing system on the following:

                                    Shannon Liss-Riordan
                                      Anastasia Doherty
                              LICHTEN & LISS-RIORDAN, P.C.
                                729 Boylston Street, Suite 2000
                                 Boston, Massachusetts 02116

                                     Attorneys for Plaintiffs

                                                                /s/ Sarah J. Butson
                                                                Sarah J. Butson




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